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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TEXAS
                          MARSHALL DIVISION


AVANT LOCATION TECHNOLOGIES
LLC,
                   Plaintiff,                  Civil Action No. 2:24-CV-0757-JRG
                                               (LEAD CASE)
     v.
                                               JURY TRIAL DEMANDED
APPLE INC.,
                         Defendant.




     DECLARATION OF ANDREW J. DANFORD IN SUPPORT OF DEFENDANT
 APPLE INC.’S MOTION TO DISMISS OR, ALTERNATIVELY, TO TRANSFER TO
               THE NORTHERN DISTRICT OF CALIFORNIA
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I, Andrew J. Danford, hereby declare:

        1.     I am a partner at the law firm of WilmerHale, counsel for Defendant Apple Inc.

(“Apple”), in the above captioned matter Avant Location Technologies LLC v. Apple, Inc., 2:24-

CV-0757-JRG (E.D. Tex.). I am licensed to practice law in Massachusetts and am admitted in

this matter pro hac vice.

        2.     I make this declaration in support of Apple’s Motion to Dismiss or, Alternatively,

to Transfer to the Northern District of California. I am familiar with the facts set forth herein. 1

        3.     Attached hereto as Exhibit 1 is a true and correct copy of Texas Certificate of

Formation Limited Liability Company for Avant Location Technologies LLC, dated May 4,

2023.

        4.     Attached hereto as Exhibit 2 is a true and correct copy of Texas Certificate of

Formation Limited Liability Company for Anjay Technology Partners LLC, dated October 4,

2021.

        5.     Attached hereto as Exhibit 3 is a true and correct copy of California Statement of

Information Limited Liability Company for Anjay Venture Partners LLC, dated January 18

2024.

        6.     Attached hereto as Exhibit 4 is a true and correct copy of Texas Franchise Tax

Public Information Report for Avant Location Technologies LLC, dated May 15, 2024.

        7.     Attached hereto as Exhibit 5 is a true and correct copy of the USPTO’s record of

the patent assignment of the Patents-in-Suit from Afirma Consulting & Technologies SL to

Avant Location Technologies LLC, executed May 19, 2023, recorded July 17, 2023.


1
 Consistent with Local Rule CV-7(b), the Exhibits have been highlighted to identify the specific
portions relied on in Defendant’s Motion to Dismiss or, Alternatively, to Transfer to the Northern
District of California.


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       8.      Attached hereto as Exhibit 6 is a true and correct copy of the

                                                                           . (APL-

AVANT_00000070 - 83).



Exhibit 6, ¶     Exhibit 6 contains sensitive commercial terms between Apple and Best Buy, the

disclosure of which would cause competitive harm.

       9.      Attached hereto as Exhibit 7 is a true and correct copy of the

                                                                                          (APL-

AVANT_00000063 - 68). Exhibit 7 is subject to the confidentiality restrictions described in

Exhibit 6. Exhibit 7 contains sensitive commercial terms between Apple and Best Buy, the

disclosure of which would cause competitive harm.

       10.     Attached hereto as Exhibit 8 is a true and correct copy of exhibits to the



                                                               (APL-AVANT_00000004 - 62).

Exhibit 8 is subject to the confidentiality restrictions described in Exhibit 6. Exhibit 8 contains

sensitive commercial terms between Apple and Best Buy, the disclosure of which would cause

competitive harm.

       11.     Attached hereto as Exhibit 9 is a true and correct copy of the

                                                                                          (APL-

AVANT_00000069). Exhibit 9 is subject to the confidentiality restrictions described in Exhibit

6. Exhibit 9 contains sensitive commercial terms between Apple and Best Buy, the disclosure of

which would cause competitive harm.




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       12.    Attached hereto as Exhibit 10 is a true and correct copy of the

                                                                                       (APL-

AVANT_00000001 - 3). Exhibit 10 is subject to the confidentiality restrictions described in

Exhibit 6. Exhibit 10 contains sensitive commercial terms between Apple and Best Buy, the

disclosure of which would cause competitive harm.

       13.    Attached hereto as Exhibit 11 is a true and correct copy of the

                                                                                       (APL-

AVANT_00000084 - 87). Exhibit 11 is subject to the confidentiality restrictions described in

Exhibit 6. Exhibit 11 contains sensitive commercial terms between Apple and Best Buy, the

disclosure of which would cause competitive harm.

       14.    Attached hereto as Exhibit 12 is a true and correct copy of a webpage from

https://stores.bestbuy.com/tx/tyler/5514-s-broadway-ave-246.html from November 4, 2024.

       15.    Attached hereto as Exhibit 13 is a true and correct copy of Google Maps’ driving

route from Cupertino, CA to Marshall, TX.

       16.    Attached hereto as Exhibit 14 is a true and correct copy of a printout from Lex

Machina concerning the timing cases in the Eastern District of Texas from October 1, 2019

through November 20, 2024.

       17.    Attached hereto as Exhibit 15 is a true and correct copy of a printout from Lex

Machina concerning the timing cases in the Northern District of California from October 1, 2019

through November 20, 2024.

       18.    In support of its Motion to Dismiss or, Alternatively, to Transfer to the Northern

District of California, Apple is submitting declarations from witnesses knowledgeable about the

underlying technology, including Rick Warren and Siva Ganesh Movva. Apple is also




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submitting a declaration from Jacob Anderson, who is knowledgeable about Apple’s licensing

practices and records; a declaration from Catherine Spevak, who is knowledgeable about Apple’s

financials; and a declaration from Drew Williams, who is knowledgeable about Apple’s

marketing practices and records. These declarations contain sensitive business information that

Apple considers confidential and proprietary.

       I declare under penalty of perjury under the laws of the United States of America that the

forgoing is true and correct to the best of my knowledge.

 Date: November 22, 2024                               /s/ Andrew J. Danford
                                                       Andrew J. Danford




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